Courtney Etzelmiller
Virginia Department of Forensic Science
830 Southampton Ave, Suite 400
Norfolk, VA 23510
(7 57 ) 355-5995
E-Mail:     courtney.etzelmiller@dfs . virginia . gov

                                Curriculum Vitae

EDUCATION           Masters of Forensic Science
                    Nebraska Wes l eyan University; Lincoln, NE
                    May, 2005
                    Area of emphasis:    Forensic Psychology

                    Bachelor of Science in Psychology
                    Nebraska Wesleyan University, Lincoln, NE
                    May, 2001
                    Minor : Political Science


PROFESSIONAL        May 2008-Present
WORK                Forensic Scientist-Firearm and Toolmark Section
EXPERIENCE          Virginia Department of Forensic Science Eastern Laboratory

                    June 2007-April 2008
                    Forensic Science Trainee-Firearm and Too l mark Section
                    Virginia Department of Forensic Science Central Laboratory

                    J u ne 2006-Ju ne 2007
                    Forensic Fellow-Firearm and Toolmark Section
                    Virginia Institute of Forensic Science and Medicine

                    J u ly-August 2005
                    Intern , Miami-Dade Medical Examiner Department

                    July 2003
                    Intern , Miami-Dade Medical Examiner Department

COURT TESTIMONY
                    Testified approximately 75 ti mes from May 2008 - Present
                    Jurisdictions / Courts : United States District Court
                    (Newport News), Accomack Count y Circuit Court , Chesapeake
                    Circuit Court, Hampton Circuit Court , Hampton J u venile
                    Court, Isle of Wight Circuit Cou rt, Newport News Circuit
                    Court , Newport News Juvenile Court, Norfolk Circuit Court ,
                    Northampton County Circuit Court , Portsmouth Circuit
                    Court, Portsmouth Juvenile Court, Southampton County
                    Circuit Court, and Virginia Beach Circuit Court




                                                                      rI   OVERNMENT ~
                                                                           . ~HI BIT --.::;:::
                                                                        ;t.3 ~
                                                                       Qlq-@1~
SPECIALIZED      Machining for the Firearm Examiner by Chris Monturo, 2018
TRAINING
                 Cognitive Bias Training by Debbie Boehem-Davis (GMU) , 2016

                 Ruger Armorer ' s Course (LCP and LC9), Ri chmond , VA, 2016

                 Subc l ass Characteristic Workshop by Nancy McCombs , 2015

                 ASCLD/LAB Measurement Confidence Level 100 Webinar , 2014

                 Introduction to Uncertainty in Forensic Chemistry and
                 Toxicology, 2013

                 Ruger Armorer's Course (P89 and Mini 14) , NRA Fairfax, VA ,
                 2009

                 Glock Armorer's Course , 2007

                 Eastern Regional Firearm and Toolmark Exami n er ' s
                 Conference, 2007

                 Firearms Safety Training , Fort Eustis, VA, 2007

                 NIBIN Training Course, Forensic Technology Inc., 2007

                 Training at various firearm manufacturing facilities
                 including Smith & Wesson, Savage Arms , Wilson Arms ,
                 Mossberg, Colt , Marlin Firearms, Sturm, Ruger and Pine
                 Tree Casting , SigArms , and Mayhew Steel Products , 2007

                 Eastern Regional Firearm and Toolmark Examiner's
                 Conference , 2006

                 Virginia Institute of Forensic Science and Medicine Basic
                 Forensic Science and Medicine Seminar ; 40 hrs, July 2006


PRESENTATIONS    "An Overview of the Department of Forensic Science
                 Toolmark Training" presented with Scott Glass at the
                 Eastern Regional Firearm and Toolmark Examiner Conference,
                 2006

TEACHING
EXPERIENCE       Instructor--Forensic Academy for Law Enforcement Officers,
                 Virginia Department of Forens i c Science , 2006-2008 , 2014


STUDY PARTICIPATION
                ~ Ten (10) Consecutively Rifled 9mm Ruger Pistol Barrels,
                 Spring 2005
         •     Research conducted by Hamby, J., Brundage D.,
               Thorpe, J.

 A Validation of Fracture Matching Through the Microscopic
 Examination of the Fractured Surfaces of Hacksaw Blades,
 Spring 2007
       • Research conducted by Lauren Claytor and Ann
         Davis-Virginia Department of Forensic Science

 Ten (10) Consecutively Manufactured Glock Miami Barrels
 (EBIS Barrels) , March 2009
       • Research conducted by Tom Fadul, Miami-Dade Police
         Department

 Ten (10) Consecutively Manufactured Ruger Slides , August
 2010
      • Research conducted by Tom Fadul, Miami-Dade Police
         Department

~ ired       Cartridge Case Error Rate Study with Ruger SR-9,
 2013

         •     Research conducted by David Baldwin, Midwest
               Forensics Resource Center
